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AO 91 (Rev. 11/11) Criminal Complaint (approved by AUSA Seth Schlessinger

 

UNITED STATES DISTRICT COURT

for the

Eastern District of Pennsylvania

United States of America
Vv.

Case No. \%- ! 1co-"

Ric Crossfield, Jr.

 

Defendant(s)

CRIMINAL COMPLAINT

I, the complainant in this case, state that the following is true to the best of my knowledge and belief.
On or about the date(s) of 10/9/17 - 7/18/18 in the county of Bucks in the

 

Eastern District of Pennsylvania , the defendant(s) violated:

Code Section Offense Description
18 U.S.C. § 2252A(g) Engaging in Child Exploitation Enterprise.

This criminal complaint is based on these facts:
See attached affidavit.

@ Continued on the attached sheet.

 

‘4 “ Complainant’s signature

Daniel J. Johns, Special Agent, FBI

 

Printed name and title
Sworn to before me and signed in my presence.

Date: 07/18/2018 Bpvme A. ates

Judge's signature

City and state: Philadelphia, Pennsylvania Hon. Lynne A. Sitarski, U.S. Magara Judge

 

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AFFIDAVIT

I, Daniel J. Johns, being first duly sworn, hereby depose and state as follows:

1, I am employed as a Special Agent of the Federal Bureau of Investigation (FBI) in
Philadelphia, Pennsylvania. I am thus a “federal law enforcement officer,” as defined by the
Federal Rules of Criminal Procedure. I have been employed as a Special Agent since March 2007.
I am presently assigned to the Philadelphia Division’s Crimes Against Children squad, which
investigates sex trafficking of children and prostitution investigations, child pornography, and
kidnappings, among other violations of federal law. I have gained experience through training at
the FBI Academy, various conferences involving crimes against children, and everyday work
related to conducting these types of investigations.

2. This affidavit is being made in support of the issuance of the attached criminal
complaint charging RIC CROSSFIELD, Jr. (“CROSSFIELD”) with engaging in a child
exploitation enterprise, in violation of Title 18, United States Code Section 2252A(g).

a The statements in this Affidavit are based in part on my investigation of this matter
and on information provided by other law enforcement officers. Because this affidavit is being
submitted for the limited purpose of demonstrating probable cause in support of issuance of the
attached complaint, I have not included each and every fact known to me concerning this
investigation, but rather only those facts that I respectfully submit are necessary in order to
establish probable cause.

STATUTORY AUTHORITY
4, Title 18, United States Code, Section 2252A(g) prohibits any person from engaging

in a child exploitation enterprise. In turn, Title 18, United States Code, Section 2252A(g)(2)
 

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provides that a person engages in a child exploitation enterprise within the meaning of the section
if the person violates (among other portions of Title 18) Chapter 110 of the United States Code, as
part of a series of felony violations constituting three or more separate incidents and involving
more than one victim, and commits those offenses in concert with three or more other persons.
Chapter 110 of the United States Code prohibits, among other offenses, the production of child
pornography (18 U.S.C. § 2251(a)); the advertisement of child pornography (18 U.S.C. § 2251(d));
the distribution or receipt of child pornography (18 U.S.C. § 2252(a)(2)); and the possession of
child pornography (18 U.S.C. § 2252(a)(4)(B)). Each of the aforementioned violations is a felony
offense.
PROBABLE CAUSE

a) On or about May 23, 2017, an FBI online covert employee (OCE) was investigating
the production of child pornography on the mobile app “live.me’! and browsed to a website called
“8ch.net.” On 8ch.net, the OCE observed a link to an URL permitting browser-based access to
Service A, a computer-based communication service described further below. Next to the link
was an image that depicted two females who appeared to be children wearing bikinis.

6. The OCE clicked on the above link and was re-directed to another URL to a website
operated by Service A-2. This particular website was entitled “Service A-1” and the title was

accompanied by a thumbnail image of two minor female children kissing each other.

 

' Live.me is a social media platform for sharing, creating and viewing live streaming videos.
Live.me users can stream live video from mobile platforms like Apple iOS or Google Android.
Videos streamed from Live.me users can be viewed through the Live.me mobile applications or
an internet browser.

* Service A, Service A-1, and similar terms, as well as Username 1 and similar terms, are
pseudonyms used in this affidavit in lieu of the actual terms in order to protect the integrity of an
ongoing investigation.

 

 
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7. Service A owns and operates a free-access all in one voice and text chat application
and website with the same name that can be accessed over the web. A user creates a Service A
account and can then communicate with other Service A users.

8. Service A users can exchange private messages between each other, participate in
chat discussions, and voice chat. Service A users can also create chat rooms, which functions as
message boards that can be accessed only by Service A users who have an invitation link. Service
A-1, mentioned above, is one such chat room on Service A. Within these chat rooms, users can
set up different sub-rooms wherein users can type written text, including links to files stored on
external file-storage sites, and also upload files under a particular size limit, which can be viewed
by all users of the sub-room. Service A users can share files larger than the limit allowed by
providing hyperlinks to file sharing websites. Service A chat rooms can have one or more
moderators. Moderators have the ability to manage other users, including but not limited to
removing users from the chat rooms, elevating users hierarchically, and granting users additional
permissions. The moderators of a chat room can categorize users of the chat rooms into
hierarchical groups with customized labels and can configure those groups to give users in each
group different levels of access.

9. The OCE’s review of the Service A-1 chat room revealed that the vast majority of
its content consisted of discussions about using web cameras and social-media applications to
obtain sexually-explicit images and videos of minor children; images and videos of minor children
exposing their vaginas, which at times were uploaded to the Service A-1 chat room and its sub-
rooms; and links to download child pornography images and videos from external file-storage
sites. Most of the children viewed by the OCE appeared to be approximately between the ages of
11 and 17 years old. The Service A-1 page also included some discussion of adults engaging in

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sexual activity via web camera. However, the majority of the activity focused on the depiction of
minors engaged in sexually explicit activity on web cameras. For example, in the course of a
discussion in the one sub-room of Service A-1 regarding the merits of utilizing virtual private
network (VPN) technology to mask users’ IP address and identity, Username 1 commented on
April 15, 2017: “Just the fact that we’re all hanging in here, which is a chatroom where underaged
sexual content is shared around is enough reason for one to get a VPN.” User name 1 continued,
stating: “Fuck when you download something from dropfile Your ISP can see what you
downloaded What if govt authorities read ISPs logfiles.”

10. Based on the OCE’s undercover observations on Service A-1, a federal search
warrant was issued, on or about July 10, 2017, by the Honorable David R. Strawbridge, United
States Magistrate Judge, Eastern District of Pennsylvania, for content stored on Service A’s servers
related to Service A-1. In response to the search warrant, Service A disclosed to law enforcement
officers IP address information for some users of Service A-1, the content of some text chats
occurring on Service A-1, and some private messages sent by users of Service A-1.

11. The Service A-1 chat room was ultimately shut down by Service A. Members of
the Service A-1 chat room proceeded to open additional similar chat rooms on Service A,
including: Service A-2, Service A-3, Service A-4, and Service A-5. The OCE gained access to
Service A-3, Service A-4, and Service A-5. The OCE observed each of these chat rooms contained
many of the same users as Service A-] and were operated for the purpose of discussing, obtaining,
and distributing child exploitation material including child pornography files. Service A-5 is the
only of the aforementioned Service A chat rooms that is still operating.

2, Based on the OCE’s undercover observations on Service A-2, Service A-3, Service
A-4, and Service A-5, a second federal search warrant was issued, on or about November 17, 2017,

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by the Honorable Linda K. Caracappa, Chief United States Magistrate Judge, Eastern District of
Pennsylvania, for content stored on Service A’s servers related to the aforementioned chat rooms.
In response to the search warrant, Service A disclosed to law enforcement officers IP address
information for some users of those chat rooms, the content of certain text chats occurring in the
chat rooms, and some private messages sent by users of those chat rooms.
13. The OCE observed a user of Service A-5 using the online name “Username 10”
later identified as Ric CROSSFIELD, Jr.. A review of the search warrant return from Service A
and undercover recordings by the OCE revealed among other activity, the following activity, each
involving a video or image that I have reviewed and that, in my opinion, constitutes a depiction of
a minor engaged in sexually explicit conduct as defined by federal law:
a. On October 9, 2017, Username 10 posted the following conversation on
Service A-5:
i. “There was a bro and sis or maybe cousins live me that was upped in either
[Service A-4] or [Service A-2] where they fucked like off camera I think? Yall
know what I'm talking about”
ii. “Dog rolled up and like humped the dudes leg yeah”
ili. “i found it”
iv. “should be up in a bit”
v. “its all mainly off camera sadly”
Username 10 then posted a link to a file entitled “alright.mp4” on Service A-5. The OCE
downloaded and accessed the video entitled “alright.mp4.” The video obtained from the
link posted by Username 10 depicted what appeared to be one male and one female child
between the ages of approximately 12 and 14 years old. The video is 5 minutes and 17

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seconds in length. In the beginning of the video it appears the male child is behind the
female having sexual intercourse. Throughout the video both children expose their genitals
to the camera.

b. On October 23, 2017, Username 10 posted the following: “hey yall, i
wouldve posted a screen cap but it keeps fucking up on me, if anyone has this video and it
works would you mind sending it to me por favor,” followed by a link. The OCE utilized
the link posted by Username 10 to download the video file. The video depicted 2 minor
females between approximately 12 and 15 years old. One of the minor females lowered
her underwear, touched her vagina and turned around exposing her vagina and anus to the
camera.

@: On November 7, 2017, Username 10 posted on Service A-5 a link to a video
entitled “celluite_ cindy_.flv,” followed by the message: “my last message fucked up but
im lookinh got more of this chick.” The undercover downloaded and accessed the video
entitled “celluite_ cindy_.flv.” The video depicted a female child approximately 12 to 14
years old fully naked laying down on her stomach exposing her anus to the camera. The
child then turns and faces the camera exposing her genitals and rubs a glue stick on her
genitals.

14. Records from Service A show that user “Username 10” accessed Service A servers
using a particular IP address between August 11, 2017 and January 22, 2018. The FBI sent a
subpoena to Charter Communications who responded on March 28, 2018. Charter’s records

showed that the subscriber of that IP address from September 1, 2017 to March 10, 2018 was “Ric

 
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Crossfield,”? located at 14845 89th Avenue, Apt 6G, Jamaica, NY 11435.

15. Records from Service A show that user “Username 10” accessed Service A servers
using a different IP address between August 12, 2017 and December 17, 2017. The FBI sent a
subpoena to Charter Communications who responded on March 28, 2018. Charter’s records
showed that the subscriber of that IP address since February 24, 2014 was the Roman Catholic
Church, located at 7200 Douglaston Pkwy #2, Little Neck, NY 11362.

16. Open source database checks for Ric CROSSFIELD, Jr. yielded the Vocations
Brooklyn Diocese Facebook page, which identified Ric CROSSFIELD, Jr. as a junior at the
Cathedral Seminary House of Formation. The seminary’s website identifies its address as 7200
Douglaston Pkwy #2, Little Neck, NY 11362. The following photograph was taken from the

above-mentioned Facebook page:

Vocations Brooklyn Diocese
October 20, 2016 -

Meet our Seminarians - Ric Crossfield, a parishioner of Presentation of the
Blessed Virgin Mary, Jamaica, NY. He is a Junior at the Cathedral Seminary
House of Formation. Please pray for Ric and for our seminarians!

 

 

3 A subsequently executed search warrant revealed CROSSFIELD lives with his parents, and his father is also
named “Ric Crossfield.”

 
 

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17. On July 18, 2018, a federal search warrant was executed at 14845 89th Avenue,
Apt 6G, Jamaica, NY 11435, CROSSFIELD, Jr.’s residence. Agents recovered, among other
evidence, a laptop computer and an external hard drive belonging to CROSSFIELD, Jr.. On both
devices, agents located multiple depictions of minors engaged in sexually explicit conduct,
consistent with the type of child pornography distributed by and among members of the child
exploitation enterprise active over Service A-1 and similar chat rooms.

18. CROSSFIELD, Jr. was present at the time of the search warrant was executed.
CROSSFIELD, Jr. agreed to participate in an interview with law enforcement agents, which was
recorded. CROSSFIELD, Jr. admitted to participating in the enterprise as “Username 10.” In
particular, CROSSFIELD, Jr. admitted distributing child pornography as Username 10 to other
members of the enterprise over Service A-5, as well as to downloading child pornography through
the enterprise.

VENUE

19. The child exploitation enterprise in which CROSSFIELD, Jr. engaged, as described
above, extended at all relevant times to the Eastern District of Pennsylvania. The enterprise was
open to members from anywhere in the world, and the child pornography material disseminated
by the enterprise was made available to any person able to access Service A, including from the
Eastern District of Pennsylvania. Further, the OCE’s activities over the various Service A chat
rooms comprising the enterprise were conducted in the Eastern District of Pennsylvania. Finally,
the investigation has revealed the participation of at least one member of the enterprise who lived

in the Eastern District of Pennsylvania and participated in the enterprise from the Eastern District

 
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of Pennsylvania, from as early as July 2016 until that member’s arrest by federal authorities in
February 2018.
CONCLUSION
20. Based upon the information above, I respectfully submit that there is probable cause
to believe that Ric CROSSFIELD, Jr. has engaged in a child exploitation enterprise, in violation
of Title 18, United States Code Section 2252A(g), in that CROSSFIELD, Jr. has violated Chapter
110 of Title 18 of the United States Code as part of a series of felony violations involving three or
more separate incidents and more than one victim, and has committed those offenses with three or
more other persons. I therefore further respectfully request that the Court issue the attached
complaint and warrant charging CROSSFIELD, Jr. with that offense.
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Vif
Daniel J. fohns
Special Agent, Federal Bureau of Investigation

SWORN TO AND SUBSGRIBED
BEFORE ME THIS /57” Day
OF JULY, 2018.

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HG@X. LYNNE. A. SITARSKI
UNITED STATES MAGISTRATE JUDGE

 
